
Upon consideration of the petition filed by Plaintiff on the 26th day of July 2004 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 12th day of August 2004."
Upon consideration of the amended petition filed by Plaintiff on the 2nd day of August 2004 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 12th day of August 2004."
